Case 2:19-cv-17866-MCA-LDW Document 40 Filed 09/27/19 Page 1 of 3 PageID: 3103



                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY
 --------------------------------------------------------------------------- x
 WELLS FARGO BANK, NATIONAL ASSOCIATION,                                     :
 AS TRUSTEE FOR THE REGISTERED HOLDERS OF                                    :
 AMHERST PIERPOINT COMMERCIAL MORTGAGE                                       : Case No. 2:19-cv-17866
 SECURITIES, LLC, MULTIFAMILY MORTGAGE                                       :
 PASS-THROUGH CERTIFICATES, SERIES 2019-                                     : Hon. Madeline Cox Arleo
 SB59, by and through its special servicer, LNR Partners,                    :
 LLC, CITIBANK, N.A., AS TRUSTEE FOR THE                                     :
 REGISTERED HOLDERS OF WELLS FARGO                                           :
 COMMERCIAL MORTGAGE SECURITIES, INC.,                                       :
 MULTIFAMILY MORTGAGE PASS-THROUGH                                           :
 CERTIFICATES, SERIES 2018-SB48, by and through its                          :
 special servicer, LNR Partners, LLC, U.S. BANK                              :
 NATIONAL ASSOCIATION, AS TRUSTEE FOR THE                                    :
 BENEFIT OF HOLDERS OF J.P. MORGAN CHASE                                     :
 COMMERCIAL MORTGAGES SECURITIES CORP.,                                      :
 MULTIFAMILY PASS-THROUGH CERTIFICATES,                                      :
 SERIES 2018-SB52, by and through its special servicer,                      :
 SCP Servicing, LLC, U.S. BANK NATIONAL                                      :
 ASSOCIATION, AS TRUSTEE FOR THE BENEFIT OF                                  :
 HOLDERS OF J.P. MORGAN CHASE COMMERCIAL                                     :
 MORTGAGES SECURITIES CORP., MULTIFAMILY                                     :
 PASS-THROUGH CERTIFICATES, SERIES 2018-                                     :
 SB56, by and through its special servicer, SCP Servicing,                   :
 LLC, and U.S. BANK NATIONAL ASSOCIATION, AS                                 :
 TRUSTEE FOR THE REGISTERED HOLDERS OF                                       :
 WELLS FARGO COMMERCIAL MORTGAGE                                             :
 SECURITIES, INC. MULTIFAMILY MORTGAGE                                       :
 PASS-THROUGH CERTIFICATES, SERIES 2019-                                     :
 SB63, by and through its special servicer, Berkeley Point                   :
 Capital LLC d/b/a Newmark Knight Frank,                                     :
                                                                             :
                                      Plaintiffs,                            :
                                                                             :
                              -against-                                      :
                                                                             :
 SETH LEVINE, PALISADE LM LLC, 2917 PALISADE                                 :
 VENTURES LLC, ALJO NORSE LLC, AMBOY                                         :
 NORSE LLC, DEHART NORSE LLC, JORDAN                                         :
 VENTURES LLC, RALEIGH NORSE MANAGEMENT                                      :
 LLC, UNION CITY FUNDING LLC, UNION                                          :
 VENTURES LLC, WALLIS NORSE LLC,                                             :
 CLEMENTON NORSE LLC, KEARNY NORSE LLC,                                      :
 LENOX BEACHWAY LLC, PA NORSE LLC,                                           :
Case 2:19-cv-17866-MCA-LDW Document 40 Filed 09/27/19 Page 2 of 3 PageID: 3104



 WOODBINE NORSE LLC, RIVERSIDE NORSE LLC,                                    :
 WESTVILLE NORSE, LLC, PROSPECT NORSE LLC,                                   ::
 and FEDERAL HOME LOAN MORTGAGE CORP.,                                       :
                                                                             :
                                     Defendants.                             :
 --------------------------------------------------------------------------- x

                                        NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that Eric D. Herschmann of the law firm Kasowitz Benson

 Torres LLP appears in this action as attorney for Ascend Re Partners, LLC and Ascend Re

 Partners II, LLC and requests that notices, correspondence, filings and other papers in this action

 be served upon him at the address listed below.



 Dated: September 27, 2019                          By: /s/ Eric D. Herschmann

                                                          Eric D. Herschmann, Esq.
                                                          Kasowitz Benson Torres LLP
                                                          1633 Broadway
                                                          New York, New York 10019
                                                          Tel: (212) 506-1700

                                                          Attorneys for Ascend Re Partners, LLC and
                                                          Ascend Re Partners II, LLC
Case 2:19-cv-17866-MCA-LDW Document 40 Filed 09/27/19 Page 3 of 3 PageID: 3105



                                  CERTIFICATE OF SERVICE

        I, Eric D. Herschmann, hereby certify that this Notice of Appearance filed through the

 ECF system will be sent electronically to the registered participants as identified on the Notice of

 Electronic Filing and paper copies will be sent to those indicated as non-registered participants

 on September 27, 2019.



                                                      /s/ Eric D. Herschmann
                                                         Eric D. Herschmann
